                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

In the matter of:
                                                             Case No. 95-48268
MTG, Inc.,
                       Debtor                                Chapter 7
                                           /
                                                             Judge Thomas J. Tucker
GUY C. VINING,

                       Plaintiff(s),

vs.                                                          Adv. Pro. No. 03-4950

COMERICA BANK, et al.,

                        Defendant(s).          /

        SUPPLEMENT TO OPINION REGARDING PLAINTIFF’S MOTIONS
       FOR TURNOVER OF ESTATE DOCUMENTS, ENFORCEMENT OF THE
                 AUTOMATIC STAY, AND FOR SANCTIONS

       This supplements the Court’s written opinion filed today, entitled “Opinion Regarding

Plaintiff’s Motions for Turnover of Estate Documents, Enforcement of the Automatic Stay, and

for Sanctions.” The Court attaches the following: (1) excerpts from the transcript of this Court’s

July 30, 2009 bench opinion given in the case of Lewis v. Negri Bossi (In re Mathson Industries,

Inc.), Adv. No. 09-4639, which is cited in footnotes 8 and 9 of the Court’s opinion in this case;

and (2) a transcript of this Court’s February 3, 2006 bench opinion given in the case of Deluxe

Pattern Corp. v. Winget (In re Deluxe Pattern Corp.), Adv. No. 04-4578, which is cited in

footnote 9 of the Court’s opinion in this case.

Signed on April 15, 2011                              /s/ Thomas J. Tucker
                                                      Thomas J. Tucker
                                                      United States Bankruptcy Judge




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                        EASTERN DISTRICT OF MICHIGAN
 2                            SOUTHERN DIVISION

 3   WENDY TURNER LEWIS,               Adversary No. 09-4639
                                       Detroit, Michigan
 4        Plaintiff,                   July 30, 2009
                                       4:10 p.m.
 5             v

 6   NEGRI BOSSI USA, INC.,

 7        Defendant.
     __________________________/
 8
      IN RE: BENCH OPINION RE: CROSS MOTIONS FOR SUMMARY JUDGMENT
 9               BEFORE THE HONORABLE THOMAS J. TUCKER
               TRANSCRIPT ORDERED BY: ANISSA HUDY, ESQ.
10
     APPEARANCES:
11
     For the Plaintiff:                HOWARD SHER, ESQ. (P38337)
12                                     Jacob & Weingarten
                                       2301 W. Big Beaver Road
13                                     Suite 777
                                       Troy, MI 48084
14                                     248-649-1900

15                                     WENDY TURNER LEWIS, ESQ.
                                       (P39505)
16                                     Chapter 7 Trustee
                                       Eastern District of Michigan
17                                     456 E. Milwaukee Street
                                       Detroit, MI 48202
18                                     313-875-5555

19   For the Defendant:                ANISSA HUDY, ESQ. (P57923)
                                       Warner, Norcross & Judd
20                                     2000 Town Center
                                       Suite 2700
21                                     Southfield, MI 48075
                                       248-784-5133
22
     Court Recorder:                   Kathleen Wiacek
23
     Transcriber:                      Deborah Kremlick
24
     Proceedings recorded by electronic sound recording, transcript
25 produced by transcription service.
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 1        (Court in Session)

 2              THE CLERK:    Please rise.     This Court is back in

 3   session.   You may be seated.    The Court will call the matter

 4   of Wendy Turner Lewis versus Negri Bossi USA, 09-4639.

 5              THE COURT:    All right.     Good afternoon.    Let’s have

 6   appearances for the record, please.

 7              MS. HUDY:    Good afternoon, Your Honor.       Anissa Hudy

 8   on behalf of Negri Bossi.

 9              MR. SHER:    Good afternoon, Your Honor.       Howard Sher

10   on behalf of Wendy Turner Lewis.

11              MS. LEWIS:    Your Honor, for the record, Wendy Lewis.

12              THE COURT:    All right.     Good afternoon.    One moment,

13   please.

14        All right.   Good afternoon.       The first order of business

15   this afternoon of course is for the Court to give its bench

16   opinion and ruling on the cross motions for summary judgment

17   filed by the parties in this adversary proceeding.

18        The plaintiff trustee, the defendant Negri Bossi, USA,

19   Inc. which I’ll refer to in this bench opinion as Negri Bossi

20   or defendant, each filed motions for summary judgment in this

21   adversary proceeding.     The Court heard -– held oral argument

22   and heard the motions on July 22, 2009 and at that time took

23   the motions under advisement.

24        After that occurred as the parties know, the United

25 States District Court denied earlier this week, I think it was
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 1   by this section shall recover actual damages including costs

 2   and attorney fees and in appropriate circumstances may recover

 3   punitive damages.”

 4        As I have held in prior cases, individual as used in that

 5   section means a human being and not a non-human person or not

 6   a non–human entity.     Now the trustee of course is a human

 7   being, but the trustee is not bringing this adversary

 8   proceeding and seeking damages and claiming a violation of the

 9   stay in her individual capacity, that is in her capacity as a

10   human being, a person, but rather as –- on behalf of the

11   bankruptcy estate which is not a human being.

12        That -– and in my view then essentially it’s the estate,

13   the bankruptcy estate that is seeking damages for violation of

14   the automatic stay since that estate is not an individual

15   under Section 362(k)(1), that section does not apply to

16   authorize damages or monetary relief of any kind in favor of

17   the estate against Negri Bossi here for violation of the

18   automatic stay.

19        There is a split among the federal circuits on this issue

20   I would note.     And I would cite one case, the case of In Re:

21   Spooky World, Inc., Spooky World, Inc. v Town of Berlin, 346 F

22   3d 1, a decision of the U.S. Court of Appeals for the 1st

23   Circuit from 2003.

24        At Pages 7 to 8 of its decision in that case, and that’s

25 a decision of the 1st Circuit as I said, the Court -– the Court
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 1   of Appeals holds that a corporation is not an individual

 2   within the meaning of Section 362(h) is what it was at that

 3   time, it’s now (k)(1).

 4        Noted that there are –- there’s a split among the

 5   circuits.   Four circuits held that the corporation is not an

 6   individual under that section and the two held that it is.

 7   The 1st Circuit sided with the majority rule and said that the

 8   corporation is not an individual.

 9        Implication of the case clearly is that individual there

10   means human being.     And I agree with that.      The Court went on

11   to hold, however, at Page 8 that a corporation, even though

12   362(h), now 362(k)(1) does not apply, is not without remedy

13   for violations of the automatic stay and says that under

14   Section 105(a) and its provision that the Court may issue any

15   order, process, or judgment that’s necessary or appropriate to

16   carry out the provisions of this title, Courts may award

17   damages, a discretionary relief, but damages under Section

18   105(a) for violations of the automatic stay.         I agree with

19   that proposition as well.

20        And so there is authority here in this Court to award

21   damages for the violation of the automatic stay that I have

22   found that have been made by Negri Bossi.         But it’s under

23   Section 105(a) and Section 362(k)(1) will not apply.           And I

24   wanted to make that clear for future reference in this case

25 and that is my ruling on that issue.
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